              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:11cr107


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                  ORDER
                            )
                            )
JAMES DOUGLAS KEITH.        )
____________________________)



      THIS MATTER is before the Court on a letter received from the

Defendant on May 13, 2013 [Doc. 58].

      The Rules of Practice and Procedure of the United States District

Court for the Western District of North Carolina contain the following

prohibition:

      Except for challenges to the effective assistance of counsel, the
      Court will not ordinarily entertain a motion filed by a criminal
      defendant who is still represented by counsel and has not
      formally waived his or her right to counsel in the presence of a
      judicial officer after being fully advised of the consequences of
      waiver.

L.Cr.R. 47.1(H).

      The Defendant is represented by counsel and the Court will not

entertain pro se filings. Nor would the Court be authorized to grant the


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relief requested in any event. The Defendant was sentenced on April 3,

2013. [Doc. 55]. This Court has no authority or jurisdiction to modify the

Judgment of Conviction. Fed.R.Crim.P. 35.

     IT IS, THEREFORE, ORDERED that the Defendant’s pro se letter

[Doc. 58], construed as a motion for relief, is hereby DENIED.

                                    Signed: May 21, 2013




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